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                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION



UNITED STATES OF AMERICA


VS.                                                                 CR 05-PT-61-S

JEWELL C. “CHRIS” McNAIR
GRADY R. “ROLAND” PUGH
JOSEPH E. “EDDIE” YESSICK
ROLAND PUGH CONSTRUCTION, INC.
BOBBY J. RAST
DANIEL B. “DANNY” RAST,
RAST CONSTRUCTION, INC.
FLOYD W. “PAT” DOUGHERTY
F. W. DOUGHERTY ENGINEERING
& ASSOCIATES, INC.

              Defendants

                                MEMORANDUM OPINION
                                       AND
                                      ORDER

       The Rast defendants, defendant McNair and Defendant Roland Pugh Construction

Company, Inc. have filed motions for Brady/Giglio disclosures. Of course, the Government is

obligated to make Brady and Giglio disclosures. Giglio applies to prosecution witnesses. Brady

applies to exculpatory evidence. U. S. v. Jordan, 316 F.3d 1215 (11th Cir. 2003) has pertinent

discussions regarding these obligations. These include the following:

              The defendant's right to the disclosure of favorable evidence,
              however, does not “create a broad, constitutionally required right of
              discovery.” Bagley, 473 U.S. at 675 n. 7, 105 S.Ct. at 3380 n. 7.
              Indeed, a “defendant's right to discover exculpatory evidence does not
              include the unsupervised right to search through the [government's]
              files,” Pennsylvania v. Ritchie, 480 U.S. 39, 59, 107 S.Ct. 989, 1002,
              94 L.Ed.2d 40 (1987), nor does the right require the prosecution to
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              deliver its entire file to the defense. See Agurs, 427 U.S. at 109, 96
              S.Ct. at 2400. Rather, Brady obligates the government to disclose
              only favorable evidence that is “material.” The “touchstone of
              materiality is a ‘reasonable probability’ of a different result.” Kyles
              v. Whitley, 514 U.S. 419, 434, 115 S.Ct. 1555, 1566, 131 L.Ed.2d 490
              (1995). Accordingly, under Brady, the government need only disclose
              during pretrial discovery (or later, at the trial) evidence which, in the
              eyes of a neutral and objective observer, could alter the outcome of
              the proceedings. Not infrequently, what constitutes Brady material is
              fairly debatable. In such cases, the prosecutor should mark the
              material as a court exhibit and submit it to the court for in camera
              inspection. See Buckley, 586 F.2d at 506 (citing Agurs, 427 U.S. at
              106, 96 S.Ct. at 2399).

U.S. v. Jordan, 316 F.3d 1215, 1251-1252 (11th Cir. 2003).

                                      ....

              The Supreme Court in Bagley explained that:

              An interpretation of Brady to create a broad, constitutionally required
              right of discovery “would entirely alter the character and balance of
              our present systems of criminal justice.” Furthermore, a rule that the
              prosecutor commits error by any failure to disclose evidence
              favorable to the accused, no matter how insignificant, would impose
              an impossible burden on the prosecutor.

U.S. v. Jordan, 316 F.3d 1215, 1252 n.80 (11th Cir. 2003).

       See Footnote 81 in Jordan for further illumination.

       Jordan also states:

              As the Supreme Court observed, in reversing the D.C. Circuit in
              Agurs:

              The Court of Appeals appears to have assumed that the prosecutor
              has a constitutional obligation to disclose any information that might
              affect the jury's verdict. That statement of a constitutional standard of
              materiality approaches the “sporting theory of justice”
              which the Court expressly rejected in Brady. For a jury's appraisal of
              a case “might” be affected by an improper or trivial consideration as
              well as by evidence giving rise to a legitimate doubt on the issue of
              guilt. If everything that might influence a jury must be disclosed, the
              only way a prosecutor could discharge his constitutional duty would
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                  be to allow complete discovery of his files as a matter of routine
                  practice.

                  Whether or not procedural rules authorizing such broad discovery
                  might be desirable, the Constitution surely does not demand that
                  much.

                  427 U.S. at 108-09, 96 S.Ct. at 2400 (footnotes omitted).

       In U. S. V. Valera, 845 F.2d 923, 927-928 (11 th Cir. 1988), the court stated:

                  Occasionally, it is appropriate for judges to examine personally
                  government files to satisfy Brady, Giglio, or the Jencks Act. See
                  United States v. Griggs, 713 F.2d 672 (11th Cir.1983) (rejecting idea
                  that, unless the prosecution has doubts as to the non-existence of
                  Brady material, a district judge has no power to conduct an in camera
                  inspection). Generally, however, trial judges are not required to
                  examine personally government files. Gaston, 608 F.2d at 612. How
                  the trial court proceeds to enforce disclosure requirements is largely
                  a matter of discretion to be exercised in light of the facts of each case.

U.S. v. Valera, 845 F.2d 923, 927 (11th Cir. 1988).

                                             ....

                  First, “[t]he purpose of Brady is to assure that the accused will not be
                  denied access to exculpatory evidence known to the government but
                  unknown to himAAAA [T]here is no Brady violation when the accused
                  or his counsel knows before trial about the allegedly exculpatory
                  information and makes no effort to obtain its production.” United
                  States v. Cravero, 545 F.2d 406, 420 (5th Cir.1976), cert. denied, 430
                  U.S. 983, 97 S.Ct. 1679, 52 L.Ed.2d 377 (1977); see also United
                  States v. Prior, 546 F.2d 1254, 1259 (5th Cir.1977) (“[N]umerous
                  cases have ruled that the government is not obliged under Brady to
                  furnish a defendant with information which he already has or, with
                  any reasonable diligence, he can obtain himself.”).

U.S. v. Valera, 845 F.2d 923, 927-928 (11th Cir. 1988). Also see U. S. V. Vallejo, 297 F.3d 1164
(11 th Cir. 2002) and U. S. V. Quinn, 123 F.3d 1415 (11 th Cir. 1997).

       In addition to making blanket general Giglio and Brady requests, the defendants make

further general requests for any information which will help them with their defense.1 In other

       1
           Calling something which is general “specific” does not make it so.
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words, anything which will help show that payments were loans or gifts or that they were not

intended to be bribes. There is no suggestion of any specific material of this nature that the

Government may have that it has not disclosed. Observations of the defendants have not

triggered any obligation of this court other than to order compliance with Giglio and Brady.

Some of the requests are of the type which were not only rejected but criticized by Jordan.

       The Government is reminded of its obligations. The court doubts whether the general

opinions of some with regard to the general guilt or innocence of a defendant would be

admissible. Further, the fact that some who may be guilty have not been prosecuted would not

necessarily be admissible. The situation may vary, of course, depending on whether a person will

or will not be called as a witness by the Government. Nothing this court has said should

undermine the Government’s own recognition of its obligations. The motions are otherwise

DENIED.

       DONE and ORDERED this the24th day of March, 2006.




                                                ROBERT B. PROPST
                                      SENIOR UNITED STATES DISTRICT JUDGE
